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FII.ED BY
|N THE UNlTED STATES DlSTR|CT COURT

FOR THE WESTERN D|STRICT OF TENNESSEE 05 AUG 30 PH lp l l

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CLEHF{. U.S. D`SWCTCOLH
UNlTED STATES OF AMER|CA, * 7¢'§"`13@1“`5711?-§"~11?118
Plaintiff, *
vs. * Criminal No. 03-20168-M| P

*

JASON MATTHEW LANTElGNE,

Defendant.

 

PRELlMlNARY ORDER OF FORFE|TURE

 

in indictment NumberO3-20168-N|I P, the United States sought forfeiture of specific
property of defendant Jason Matthew Lanteigne, pursuantto 18 U.S.C. §§ 2251 and 2252.
On September 4, 2003, the defendant, Jason Matthew Lanteigne, entered a plea of guilty
to Counts 1 and 2 and the defendant agreed to forfeit the property as set forth in Count 4
of the |ndictment.

Accordingly, it is ORDERED:

1. Based upon the defendants guilty plea to Counts 1 and 2 and the
defendants agreement to forfeit the property as set forth in Count 4 of the indictment
Number 03-20168-M| P, the United States is authorized to seize the following property
belonging to defendant Jason N|atthew Lanteigne, and his interest in it is hereby forfeited
to the United States for disposition in accordance with the |aw, subject to the provisions of
21 U.S.C. §853(n) and Ru|e 32(d)(2) of the Federa| Ru|es of Criminal Procedure:

a. Any visual depiction described in Section 2252 of Title 18 United

States Code, and any book, magazine, periodical, firm, videotape, and other matter which

This document entered on the docket she tin compliance

with Hu|e 55 and/or 32(b) FHCrP on d 'é/'Oj zgz£:

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contains any such visual depiction, which was produced, transported, mailed, shipped, or

received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross

profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit

or to promote the commission of the above said offenses, including but not limited to the

following:

1)

3)

4)

5)
6)
7)
3)

9)

One (1) Sony digital camera SN-332638;
One (1) Black camera case;

One (1) Sony Nlemory Stick Case containing
five (5) memory sticks and card adapter;

One (1) Sony digital AC adapter charger for
camera SN-16917148;

One (1) Sprint cell phone SN-24700605819;
One (1) Sony cell phone charger SN-KJA;
One (1) Ear piece for cell phone;

One (1) PC|V|CIA |V|odern SN-5507798A;

One (1) Sony l-leadphones |VlDR-V?OO;

All pursuant to Tit|e 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States |Vlarshal in his

secure custody, or, as may be necessary, the Attorney General may appoint a substitute

custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States iV|arshal shall publish at

least once a week for three successive weeks in a newspaper of general circulation in

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Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct,
and notice that any person, otherthan the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought. The United States l\/larshal or his delegate may use the attached
Lega| Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. lf no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have cleartitle to the Subject Property following the
Court's disposition of all third-party interests, or, if nonel following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and

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28 U.S.C. §2461(0), for the filing of third party petitions.
7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).
rr rs so oRoEREo this gel day of D'C€jv$ ,2005.

ma meat

JO PH|PPS McCALLA
ited States District Judge
PRESENTED BY:

TERRELL L. HARRlS
United States Attorney

W»€ZW

lSTOPHER E. COTTEN
Crss istant United States Attorney

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN D|V|SION

UN|TED STATES OF Al\/|ER|CA, *
Plaintiff, *
vs. * Criminal No. 03-20168~M| P

x-

JASON |V|ATTHEW LANTE|GNE,

Defendant. *

 

LEGAL NOTICE

 

Take notice that on Q°Bt-lq. 2003 . the United States District Court for the
Western District of Tennessee, Western Division, entered a Preliminary Order of Forfeiture
ordering that all right, title and interest of the defendant Jason Matthew Lanteigne in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any bookl magazine, periodical, firml videotape, and other matter which
contains any such visual depiction, which was prod uced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or persona|, used or intended to be used to commit or to

promote the commission of the above said offenses, including but not limited to the

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following:
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One (1) Black camera case;

One (1) Sony l\/lemory Stick Case containing
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One (1) Sony digital AC adapter charger for
camera SN-16917148;

One (1) Sprint cell phone SN-24700605819;
One (1) Sony cell phone charger SN-KJA;
One (1) Ear piece for cell phone;

One (1) PCMC|A lVlodern SN-5507798A;

One (1) Sony Headphones MDR-V?OO;

All pursuant to Titie 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

General or his delegate may direct. Any person, other than the defendant. having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or

interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought

   

UNITED S`TATE DRISTIC COUR - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CR-20168 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Dan NeWSom

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Christopher E. Cotten

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Honorable J on McCalla
US DISTRICT COURT

